  Case 1:06-cr-00079-JMS-KSC      Document 1260      Filed 08/05/10   Page 1 of 5
                                  PageID.13244


                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAI`I


UNITED STATES OF AMERICA,     )              CR. NO. 06-00079 DAE-KSC
                              )
           Plaintiff,         )
     vs.                      )
                              )
NAEEM J. WILLIAMS,            )
                              )
           Defendant.         )
_____________________________ )


    ORDER: (1) DENYING DEFENDANT’S SECOND SUPERSEDING
     INDICTMENT RELATED MOTION # 3: MOTION FOR FINDING
   THAT THE DEATH PENALTY ACT IS UNCONSTITUTIONAL AND
    MOTION TO STRIKE FDPA ALLEGATIONS FROM THE SECOND
  SUPERSEDING INDICTMENT AND SECOND AMENDED NOTICE OF
INTENT TO SEEK THE DEATH PENALTY; AND (2) VACATING HEARING

            Pursuant to Local Rule 7.2(d), the Court finds this matter suitable for

disposition without a hearing. After reviewing the motion and supporting and

opposing memoranda, the Court DENIES Defendant’s motion to strike the Federal

Death Penalty Act (“FPDA”) as unconstitutional. (Doc. # 1118). The hearing on

the matter is hereby VACATED.

                                BACKGROUND

            On December 4, 2009, and January 6, 2010, respectively, the

Government filed a Second Superseding Indictment and a Second Amended Notice
   Case 1:06-cr-00079-JMS-KSC      Document 1260      Filed 08/05/10   Page 2 of 5
                                   PageID.13245


of Intent to Seek the Death Penalty. On April 4, 2010, Defendant filed a Motion

for Finding that the Death Penalty Act Is Unconstitutional and Motion to Strike

FDPA Allegations from the Second Superseding Indictment and Second Amended

Notice of Intent to Seek the Death Penalty. (Doc. #1118.) The Government filed

its Opposition on June 9, 2010. (Doc. # 1145.) Defendant’s reply was due on July

19, 2010, but none was filed. (See Doc. # 1135.)

             Defendant’s instant motion is substantially similar to a motion he

previously filed on July 15, 2007, as Death Penalty Motion # 2: Motion for

Finding that the Death Penalty Act is Unconstitutional and Motion to Strike FDPA

Allegations from the Superseding Indictment and Amended Notice of Intent to

Seek the Death Penalty. (Doc. # 309.) The Court dismissed one aspect of the

motion without prejudice as premature (Confrontation Clause argument) but

otherwise denied relief in a written order on October 2, 2007 (“October 2, 2007

Order”). (Doc. # 381.)

             On March 1, 2010, the Court heard argument on Defendant’s Motion

to Apply Arguments and Rulings from Defense Death Penalty Motions 1-6 to

Second Superseding Indictment. In a written order that followed, the Court ruled

that its October 2, 2007 Order remained in effect to the extent its rulings were

based upon principles of law not dependent on facts or allegations specific to the


                                          2
   Case 1:06-cr-00079-JMS-KSC       Document 1260      Filed 08/05/10   Page 3 of 5
                                    PageID.13246


First Superseding Indictment or were based on issues identical in both the First and

Second Superseding Indictments and in both the Notice and Second Amended

Notice of Intent to Seek the Death Penalty. (Doc. # 1102.) The Court further

provided that Defendant could file new motions raising “issues unique to the

Second Superseding Indictment and to the Second Amended Notice of Intent.” (Id.

at 3.) The instant motion followed.

                                   DISCUSSION

             Defendant argues that the FDPA is facially unconstitutional because it

fails to comply with the Fifth Amendment Due Process and Indictment Clauses.

He also argues that the FDPA: fails to include procedural protections required by

the Fifth, Sixth, and Eighth Amendments; contains an unconstitutional standard for

the admission of evidence at sentencing; provides for a sentencing hearing that

cannot be conducted in the absence of importing procedures required by Ring v.

Arizona, 536 U.S. 584 (2002), Crawford v. Washington, 541 U.S. 36 (2004), and

Sattazahn v. Pennsylvania, 537 U.S. 101 (2003); lacks specified burdens of proof;

fails to provide sufficient guidance for the jury to determine that the death penalty

is “justified”; must be read with a patchwork of case law in mind such that the face

of the Act is not actually applied in a death penalty prosecution; and violates

international law.


                                          3
   Case 1:06-cr-00079-JMS-KSC      Document 1260      Filed 08/05/10   Page 4 of 5
                                   PageID.13247


             Each of these arguments has already been considered and rejected by

the Court. In its October 2, 2007 Order, the Court expressly found that the FDPA

was not facially invalid, that non-statutory aggravating factors are not elements

within the meaning of Ring and Sattazahn, and that the FDPA does not violate

international law. (Doc. # 381 at 12-18.) The Court declines to reconsider these

issues.

             The Court further found that Defendant’s Confrontation Clause

argument based on Crawford was premature because it is not clear the Government

will attempt to use any testimonial hearsay evidence at the sentencing phase, if one

is necessary. (Id. at 18.) Nothing in the Second Superseding Indictment or Second

Amended Notice alters the Court’s ruling in this regard.

             Finally, the Court determined that the grand jury does not need to be

informed that the defendant may be subject to the death penalty. (Id. at 9-10.)

Even assuming applicability of such a requirement, Defendant’s instant motion

fails because, as set forth in the Government’s Opposition and exhibits thereto

(Doc. # 1145 at 4-6), the Grand Jury in this case was actually informed, before it

returned the Second Superseding Indictment, that Defendant faced a possible death

sentence and that it had to agree with the proposed special findings to make him

death-eligible.


                                          4
  Case 1:06-cr-00079-JMS-KSC      Document 1260     Filed 08/05/10   Page 5 of 5
                                  PageID.13248


                                 CONCLUSION

            For the reasons stated above, the Court DENIES Defendant’s Motion

for Finding that the Death Penalty Act Is Unconstitutional and Motion to Strike

FDPA Allegations from the Second Superseding Indictment and Second Amended

Notice of Intent to Seek the Death Penalty. The hearing on the matter is

VACATED.

            IT IS SO ORDERED.

            DATED: Honolulu, Hawaii, August 5, 2010.




                                      _____________________________
                                      David Alan Ezra
                                      United States District Judge




United States v. Williams, CR 06-00079 DAE-KSC;
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